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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

  UNITED STATES OF AMERICA                     )
                                               )
                 VS.                           ) CASE NO: 2:05 CR 143
                                               )
  RUDOLPHO HEREDIA                             )


                DEFENDANT’S PROPOSED VIOR DIRE QUESTIONS

         Comes now the Defendant, Rudolpho Heredia, and files his proposed list of voir
  dire questions as follows:
     1. Have you heard or read anything about this case?
     2. Do you understand that Rudolpho Heredia has an absolute right to remain silent
         during the trial and you cannot infer anything against the Defendant by his
         silence?
     3. Do you understand that the Defendant is presumed innocent during the entire trial
         and you must not formulate or express an opinion regarding his guilt until after
         the presentation of all the evidence and arguments of both counsel?
     4. Do you understand that the burden of proof rests entirely upon the government,
         and that you cannot return a verdict of guilty unless and until the government
         proves each and every material element of a change beyond a reasonable doubt?
     5. Are any of you, in any way, associated with any woman’s rights or women’s
         advocacy groups? If so, what group?
     6. Have you ever been involved in a case, whether civil or criminal, involving
         domestic violence?
     7. Have you ever been a victim of or charged with any offense related to domestic
         violence or battery?
     8. Have you ever been, in any way, involved in a case involving stalking?
     9. Do you believe that, in a case such as stalking or domestic violence, that you must
         always believe what the female party says?
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      10. Do you understand that a person’ s state of mind may be proven by circumstantial
           evidence?
      11. Do you believe that if a man is charged with a case involving domestic violence
           or stalking, that he must be guilty?
      12. Do you feel any pressure, in a case such as this, that you must return a verdict of
           guilt?
      13. Do you understand that you must not discuss this case with anyone, nor should
           you listen to any media accounts regarding this case?
      14. Do you know or are you related to anyone who has been either a victim or
           perpetrator of domestic violence or stalking? If so, identify the person and
           describe the situation.
      15. Are you or any member of your family involved in or associated with law
           enforcement? Please identify the person(s).
      16. Do you believe that when allegations are made by a female that a male has stalked
           or intimidated her, that a greater burden must be placed upon the male Defendant
           to prove his innocence?
           WHEREFORE: The Defendant, Rudolpho Heredia, moves the Court to accept
  Defendant’ s Voir Dire questions.




                     RESPECTFULLY SUBMITTED:                          s/Arlington J. Foley
                                                                      Arlington J. Foley




                                            CERTIFICATE OF SERVICE

           I certify that on the 22nd day of December, 2005 service of a true and complete copy of the Defendant’ s
  Proposed Vior Dire Questions was made upon each party or attorney of record herein by the electronic case filing
  system (ECF).

                               By:       s/Arlington J. Foley
                                         Arlington J. Foley
                                         Attorney at Law
